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                       IN THE UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION


    IN RE:
                                                           CASE NO. 22-40503
    SERVICE ONE, LLC                                       CHAPTER 11
                                                           (Subchapter V)
                                   DEBTOR

    MARK A. WEISBART, SUBV CHAPTER 11
    TRUSTEE OF SERVICE ONE, LLC

                                   PLAINTIFF                ADVERSARY NO. 22-04045
    V.

    TRASH CHOMPER, LLC

                                   DEFENDANT

                    MOTION FOR TEMPORARY RESTRAINING ORDER
                          AND PRELIMINARY INJUNCTION

         Mark A. Weisbart, the SubV chapter 11 trustee for Service One, LLC (“Plaintiff”) files this

Motion for Temporary Restraining Order and Preliminary Injunction 1 seeking issuance of an

immediate temporary restraining order and preliminary injunction pursuant to 11 U.S.C. § 105 and

FED.R.BANKR.P. 7065 enjoining Trash Chomper, LLC (hereinafter, “TCLLC”) and its managers,

members, officers, agents and representatives, including, without limitation, Sandra Perry

(“Perry”), Peter Niklas (“Niklas”) and Charles Tomasello (“Tomasello”) (collectively, hereinafter

referred to as the “TCLLC Agents”) (i) from using, operating, utilizing, selling, transporting,

transferring, altering or destroying certain personal property hereinafter referred to as the

“Equipment” which constitutes property of the bankruptcy estate, (ii) requiring TCLLC and


1
 This Motion is supported by the Declaration of Mark A. Weisbart, attached hereto as Exhibit “A,”
hereinafter referred to as the “Weisbart Declaration”). Further, Plaintiff requests that the Court take judicial
notice of the pleadings, documents and papers filed in the Debtor’s Bankruptcy Case.

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TCLLC Agents to store and secure such property, and (iii) allowing Plaintiff and his

representatives access to the Equipment for inspection and to ensure compliance with the

injunctive measures imposed by the Court, until consideration of the merits off the claims raised

in this proceeding. In support of the relief requested, Plaintiff would allege as follows:

                                         I. BASIS FOR RELIEF

          1.     As of the commencement of its bankruptcy case, Service One, LLC (the “Debtor”)

owned the “Equipment,” being certain trash bins, i.e, dumpsters, and haulers, which the Debtor

purchased in August and November 2020. The Debtor, in turn, leased the Dumpsters and Haulers

to TCLLC for use in TCLLC’s business operations under two lease agreements. One lease, entered

in August 2020, expired by its own terms as of July 1, 2022.

          2.     Despite Plaintiff’s demand for the return of the Equipment the subject of the August

2020 lease, TCLLC has failed and refused to return that Equipment. Further, TCLLC is in default

of both leases in failing to pay the monthly rental fees for the lease and use of the Equipment and

in not maintaining insurance on the Equipment, which, upon information and belief was cancelled

in May 2022. Due to these defaults and TCLLC’s failure to cure same, Plaintiff has terminated the

leases.

          3.     The Equipment constitutes property of the Debtor’s bankruptcy estate. By failing

to turn over the Equipment TCLLC is maintaining possession, custody and control of estate

property. This control constitutes an intentional and willful violation of the automatic stay of 11

U.S.C. §§ 362.

          4.     Plaintiff has filed his Complaint, seeking, among other things, a declaratory

judgment that the Equipment constitutes property of the bankruptcy estate and that the leases

pertaining to the Equipment have terminated, turnover of the Equipment, recovery for unjust



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enrichment, breach of contract and conversion, an offset against the proof of claim filed on

defendant’s behalf. an accounting and equitable relief.

        5.      Yet, TCLLC continues to use the Equipment in and generates income for its

business operations at the expense of and detriment to the Debtor’s bankruptcy estate. TLCC’s

continued use of the Equipment creates significant harm and risk to the Debtor’s bankruptcy estate

as the estate is unable to maximize the Equipment’s value for the benefit of its creditors and such

use poses substantial risk of liability in the event of an injury in the use or transportation of the

Equipment.

        6.      Absent immediate injunctive relief, the Debtor’s bankruptcy estate will suffer

immediate and irreparable harm and injury given TCLLC’s continued use of the Equipment in its

business operations and its failure to maintain insurance to cover damage to the Equipment and

protect against any injuries or damages arising from its use.

                                          II. JURISDICTION

        7.      This Court has jurisdiction to consider the relief sought herein pursuant to 28 U.S.C.

§§ 157 and 1334, and the Order of Reference for the United States District Court for the Eastern

District of Texas.

        8.      This motion is brought pursuant to Section 105 of the Bankruptcy Code and Rule

7065 of the Federal Rules of Bankruptcy Procedure. The claims asserted in this proceeding

constitute core matters pursuant to 28 U.S.C. §§ 157(b)(2)(A), (B), (C), (E), (K) and (O).

        9.      Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                     III. FACTUAL AND PROCEDURAL BACKGROUND

        A. Commencement of Debtor’s Bankruptcy Case

        10.     On April 21, 2022 (the “Petition Date”), a voluntary petition under chapter 11 of



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the Bankruptcy Code (the “Bankruptcy Code”) was filed on behalf of Service One, LLC (the

“Debtor”) commencing the above-referenced bankruptcy case (the “Bankruptcy Case”). 2 Per its

designation on its Petition, the Debtor is proceeding under Subchapter V of chapter 11 in

accordance with section 1182 of the Bankruptcy Code (the “SubV Designation”).

        11.     Thereafter, Mark A. Weisbart was appointed the Subchapter V Trustee for this case

pursuant to section 1183 of the Bankruptcy Code.

        12.     Due to disputes between the Debtor’s two members, Perry and Tomasello, each of

whom own a 50% membership interest in the Debtor, on April 25, 2022, the Debtor filed its Motion

to Remove the Debtor from Possession and Authorize Subchapter V Trustee to Operate the

Business of the Debtor (the “Removal Motion”) seeking to be removed as the debtor in possession

pursuant to section 1185 of the Bankruptcy Code and requesting that the Trustee be authorized to

manage and operate the Debtor’s business pursuant to section 1183(b)(5).

        13.     By Order entered on April 29, 2022, the Court granted the Removal Motion and

vested the Trustee with authority to operate the Debtor’s business and manage its assets in

accordance with 11 U.S.C. § 1183(b)(5).

        14.     On May 18, 2022, Schedules A/B, D, E/F, G and H [Doc 77] (the “Schedules) and

a Statement of Financial Affairs [Doc 78] (“SOFA”) were filed on behalf of the Debtor. 3

        B. Service One, LLC

        15.     The Debtor was formed in October 2018. Perry was its original sole member and

Charles A. Tomasello (“Tomasello”) its manager. Through an Amended and Restated Company



2
 The voluntary petition filed on behalf of the Debtor included a copy of the Debtor’s “U.S. Income Tax
Return for an S Corporation for 2020,” Form 1120-S (the “2020 Return”).

3
 The Declarations filed with the Schedules and SOFA were signed by Perry as the Debtor’s managing
member.

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Agreement of Service One, LLC dated April 1, 2019, Tomasello was named an equal member and

Perry was appointed co-manager.

        16.     The Debtor’s principal business has been the remodeling and renovation of single-

family homes for clients operating in the “single family rental space.”

        17.     The Debtor’s bankruptcy filing was precipitated by a fallout between Perry and

Tomasello which culminated in a state court lawsuit and the freezing of the Debtor’s bank account

by PlainsCapital Bank.

        18.         In addition to their association in the Debtor, Perry and Tomasello hold interests

in and jointly manage other businesses, including TCLLC which was formed in August 2020.

Upon information and belief, Nicklas was subsequently added as a member in and manager of

TCLLC. TCLLC operates a trash bin rental and waste removal business primarily focused in the

residential construction sector.

        19.     Upon its formation in August 2020, TCLLC relied on the financial support of the

Debtor to open and sustain its business. From August 2020 through mid-April 2022 the Debtor

paid or advanced funds for many of TCLLC’s operational expenses, including, without limitation,

salaries, insurance, software, hired services and telephone, internet and communications charges.

Also, during this period the Debtor periodically transferred funds into TCLLC’s bank account (and

certain TCLLC debts and expenses were paid by preauthorized debits from the Debtor’s bank

account. Further, for most of this period, if not all, TCLLC’s business operated from the Debtor’s

principal office.

        20.     As TCLLC initially lacked sufficient and adequate funds and capital to acquire

equipment to commence its operations, in August and November 2020 the Debtor purchased the

Equipment – being nine (9) 14-yard dumpsters and two (2) goose neck hauler various trash bins,



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from Nationwide Trailers FTW. The Debtor, in turn, leased the Equipment to TCLLC for use in

its business operations. These lease arrangements were documented and are evidenced by two

equipment leases (the “Leases”); the first being an Equipment Lease Agreement dated August 12,

2020 (the “August Lease”), 4 under which the Debtor, as lessor, leased to TCLLC, as lessee, three

(3) 14-yard dumpsters and one (1) goose neck hauler (the “August Equipment”) for the period

September 1, 2002, through July 1, 2022, and the second being an Equipment Lease Agreement

dated November 1, 2020 (the “November Lease”), 5 under which the Debtor, as lessor, leased to

TCLLC, as lessee, six (6) 14-yard dumpsters and One (1) goose neck hauler (the “November

Equipment”) for the period October 1, 2002, through October 21, 2024. 6

        21.     In consideration for the rental and use of the August Equipment and November

Equipment, TCLLC agreed under the Leases, inter alia, to pay the Debtor, respectively, monthly

rental amounts of $1,082.69 and $934.04 (the “Rent”). Under the Leases TCLLC also agreed to

(i) surrender and deliver to the Debtor the August Equipment upon expiration of the Leases’

respective terms, 7 and (ii) maintain insurance on the Equipment with Debtor as the loss payee.8




4
  A true and correct copy of the August Lease is attached to the Weisbart Declaration as Exhibit “1,” and
is incorporated herein.

5
  A true and correct copy of the November Lease is attached to the Weisbart Declaration as Exhibit “2,”
and is incorporated herein.
6
 Both the August Lease and the November Lease were executed by Perry on behalf of the Debtor and by
Tomasello on behalf of TCLLC.
7
  See Exhibits 1 and 2, ¶ 8 (“POSSESSION AND SURRENDER OF EQUIPMENT: [ ] At the expiration
of the Lease Term, Lessee shall surrender the Equipment to Lessor by delivering the Equipment to Lessor
or Lessor’s agent in good condition and working order, ordinary wear and tear excepted, as it was at the
commencement of the Agreement.

8
  See Exhibits 1 and 2, ¶ 12 (“INSURANCE: Lessee shall be responsible to maintain on the Equipment
with losses payable to Lessor against fire, theft, collision, and other risks as are appropriate and specified
by Lessor.”)

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Further, the Leases expressly provided that “[t]he] Equipment is and shall remain the exclusive

property of [the Debtor].” 9

          22.     Other than the difference in the monthly rental fee and the term periods the Leases

contains the same substantive terms and provisions.

          23.     TCLLC is in default under the Leases, having failed to (1) pay the Debtor Rent due

under both Leases since August 2021, (2) continually maintain insurance on the Equipment, and

(3) surrender and deliver the August Equipment to the Trustee since the expiration of the August

Lease.

          24.     The Debtor failed to list the Equipment on its Schedule A/B, and, when questioned

at the scheduled Section 341 Meeting of Creditors on May 20, 2022, Perry testified that the Debtor

did not own any dumpsters and haulers. Nevertheless, the Equipment constitutes property of the

Debtor’s estate pursuant to 541(a) of the Bankruptcy Code. The Debtor purchased the Equipment

and TCLLC agreed pursuant to the Leases that the Equipment was and would remain the property

of the Debtor. 10

          25.     On or about June 13, 2022, Plaintiff received information that the Debtor owned

the Equipment. As the Equipment was not scheduled, on June 14, 2022, Plaintiff made a request

to Debtor’s counsel for an explanation about the Debtor’s interest in and ownership of the

Equipment and provided him copies of the Leases for his review.

          26.     In response, Plaintiff received late on June 14, 2022, an email from Perry claiming

that the Equipment was owned by TCLLC and the subject of her liens. 11 No other information or


9
   See Exhibits 1 and 2, ¶ 15 (“OWNERSHIP: The Equipment is and shall remain the exclusive property
of Lessor.”)
10
     In addition, the Equipment is identified as assets of the Debtor on schedules to the 2020 Return.
11
     Schedule D of the Schedules does not reflect Perry as a secured creditor of the Debtor.

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documents supporting Perry’s assertions, however, were provided.

        27.     Despite subsequent requests to Perry’s counsel, as of the filing of the Complaint,

neither Perry or her counsel had provided Plaintiff any document or information substantiating her

claim that the Equipment is owned by TCLLC or that they are subject to liens for her benefit.

        28.     On July 26, 2022, Plaintiff’s counsel delivered to Perry, Tomasello, Nicklas, along

with Perry’s and Tomasello’s counsel, a demand letter (the “Demand Letter”) demanding

TCLLC’s return of the August Leased Equipment and declaring a default under both Leases for

TCLLC’s failure to pay Rent and to maintain the requisite insurance on the Equipment (the “Lease

Defaults”). 12 As the Leases required, Plaintiff afforded TCLLC seven (7) days from the date of

Demand Letter for TCLLC to surrender the August Leased Equipment and to cure the identified

Lease Defaults.

        29.     On August 2, 2022, Plaintiff received a response to the Demand Letter from

Tomasello’s counsel stating that (i) TCLLC and Tomasello did not oppose Plaintiff’s demand for

return of the Equipment, (ii) Tomasello was aware that customers of TCLLC have continued to

pay TCLLC for services but due to his lack of access to TCLLC’s frozen bank accounts he did not

have ability to cure the identified “Payment Defaults,” and (iii) that insurance for the Equipment

had been cancelled and that despite Tomasello’s request for proof of new insurance, Niklas had

refused to provide him any such proof. 13

        30.     As of the filing of the Complaint, Plaintiff had received no response from Perry or

her counsel to the Demand Letter.



12
   A true and correct copy of the Demand Letter is attached to the Weisbart Declaration hereto Exhibit
“3,” and incorporated herein.

13
  A true and correct copy of Tomasello’s response is attached to the Weisbart Declaration as Exhibit “4,”
and incorporated herein.

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        31.     TCLLC ceased making payments on the Leases in August 2021 which were applied

to amounts due under the Leases through June 2021.

        C. Use and Exercise of Control of Debtor’s Equipment

        32.     As of the Petition Date, the Debtor owned and held title to the Equipment.

        33.     The Equipment constitutes property of the Debtor’s bankruptcy estate pursuant to

Section 541(a) of the Bankruptcy Code.

        34.     As such, pursuant to Section 363(b) of the Bankruptcy Code the Equipment

represents property of the Debtor’s bankruptcy estate Plaintiff may use.

        35.     The Equipment is in the possession and control of TCLLC. The August Lease has

expired. Pursuant to the August Lease, upon its expiration, TCLLC was obligated to deliver and

surrender the August Leased Equipment to the Debtor. TCLLC is in default of this obligation.

        36.     Despite expiration of the August Lease and demand by Plaintiff to TCLLC’s

managers, TCLLC has continued to withhold the August Leased Equipment from Plaintiff and

refuses to deliver and surrender same to Plaintiff.

        37.     Further, based on the Leased Defaults TCLLC is in default of both Leases and both

Leases have terminated. Thus, TCLLC has no right or interest in or to the Equipment.

        38.     TCLLC has exercised control over the Equipment to the exclusion of the Debtor’s

bankruptcy estate.

        39.     Through this exercise of control over the Equipment, TCLLC has willfully and

intentionally violated the automatic stay of Section 362(a)(3) of the Bankruptcy Code.

        40.     TCLLC continues to use the Equipment in its business operations. In continuing to

use the Equipment, TCLLC is generating additional revenue and income for its business.

        41.     TCLLC’s use of the Equipment creates significant harm and risk to the Debtor’s



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bankruptcy estate as the estate is unable to maximize the Equipment’s value for the benefit of its

creditors and such use poses substantial risk of liability in the event of an injury in the use or

transportation of the Equipment.

        42.     Absent immediate injunctive relief, the Debtor’s bankruptcy estate will suffer

immediate and irreparable harm and injury given TCLLC’s continued use of the Equipment in its

business operations and its failure to maintain insurance to cover damage to the Equipment and

protect against any injuries or damages arising from its use.

                                    IV. REQUEST FOR RELIEF

        A.      Temporary Restraining Order

        43.     Plaintiff seeks, pursuant to 11 U.S.C. § 105 and FED.R.CIV.P. 65, made applicable

hereto by FED.R.BANKR.P. 7065, issuance of a temporary restraining order enjoining TCLLC and

the TCLLC Agents (i) from using, operating, utilizing, selling, transporting, transferring, altering

or destroying the Equipment, (ii) requiring TCLLC and the TCLLC Agents to store and secure

such property, and (iii) allowing Plaintiff and his representatives access to the Equipment for

inspection and to ensure compliance with the injunctive measures imposed by the Court, until the

Court’s consideration of Plaintiff’s request for preliminary injunction.

        44.     The issuance of a temporary restraining order is necessary to preserve the status

quo pending the Court’s consideration of Plaintiff’s request for entry of a preliminary injunction.

        45.     The issuance of a temporary restraining order is necessary to prevent immediate

and irreparable injury to the Debtor’s bankruptcy estate.           This harm to the estate is imminent as

TCLLC and the TLLC Agents presently possess, control and maintain custody of the Equipment

and TCLLC continues to use and operate the Equipment in its business operations. TCLLC’s use

of the Equipment creates a substantial, immediate and irreparable threat of a loss to the Debtor’s



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bankruptcy estate. TCLLC’s continued use of Equipment diminishes the value of the Equipment,

creates a risk of liability for the Debtor’s estate and threatens the ability of Plaintiff to maximize

the Equipment’s value for the benefit of the Debtor’s creditors.

        46.     In the event of an accident involving the Equipment the Debtor’s bankruptcy estate

will suffer a property loss, i.e., the value of and future use of the Equipment, and potential liability

for any injury or harm to third parties and their property.

        47.     Any damage or destruction of the Equipment would diminish or eliminate any value

Plaintiff could recognize in its sale. Further, there is a substantial and real threat that demand for

the Equipment is waning. As well documented, the home construction sector is experiencing a

slow-down and nearing a recession due to the rise of mortgage rates, a decrease in buying activity

and home starts. This slowdown has further caused a pull-back in residential restoration and

renovation projects.

        48.     Further, in having unfettered use, possession and control of the Equipment, TCLLC

has the ability to operate, sell, alter, transfer or otherwise dispose of the Equipment to the detriment

of the Debtor’s bankruptcy estate. 14 Any sale, transfer, alteration or disposition could be made for

the purpose of converting property of the bankruptcy estate or circumventing any judgment

eventually obtained by Plaintiff, thereby diminishing the value of such property for the benefit of

the estate’s creditors.

        49.     The bankruptcy estate would suffer irreparable injury and harm in the event of sale,

transfer, alteration or disposition of the Equipment.

        50.     The threatened harm to the Debtor’s bankruptcy estate outweighs and is greater



14
   The failure to schedule the Equipment on Schedule A/B and Perry’s denial that the Debtor owned
dumpsters and haulers at the 341 meeting, despite them being listed on the 2020 Return, is indicative of an
intent to conceal the Debtor’s interest in the property.

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than the harm a temporary restraining order would inflict on TCLLC. The injury and harm faced

by the bankruptcy estate in the event injunctive relief is not granted is (i) the diminished value of

the Equipment, (ii) reduced market for sale of the Equipment, and (iii) potential liability for injury

or damages caused to third parties.

        51.     On the other hand, TCLLC and the TCLLC’s Agents have little risk of injury or

damage if enjoined from using, operating, utilizing, selling, transporting, transferring, altering or

destroying the Equipment.       Since the August Lease expired and the Leases have been terminated,

TCLLC has no legal right to possess or use the Equipment. Consequently, TCLLC cannot rely on

the use of the Equipment in its business operation, nor does it have a reasonable expectation of

any such rights.

        52.        There is a substantial likelihood that the Debtor’s bankruptcy estate will succeed

on the merits of this action. TCLLC’s sole basis for possession, custody and control of the

Equipment arises under the Leases.         The August Lease expired under its terms and due to the

Lease Defaults TCLLC’s the Leases have terminated.             Upon termination of the Leases TCLLC

is obligated to return and surrender the Equipment.        As the Equipment constitutes property of the

bankruptcy estate, TCLLC is obligated to turnover possession, custody and control of that property

to Plaintiff pursuant to 11 U.S. C. § 542(a).       These circumstances, in addition to the other facts

alleged herein, clearly evidence Plaintiff’s likelihood of success on the merits of the complaint.

        53.     The issuance of a temporary restraining order would not adversely affect public

policy or the public interest, but rather granting this relief would serve to enhance the public

interest and public policy.    First, it will protect the Debtor’s bankruptcy estate from a substantial

and irreparable injury to the Equipment or third parties who might seek recovery against the estate

in the event of an accident. Second, it will protect and preserve the bankruptcy estate’s rights and



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interest in the Equipment in accordance with Section 363 of the Bankruptcy Code.                Third, it

would preserve the integrity of the Bankruptcy Code and bankruptcy process by preserving the

value of estate property and further the expeditious administration of the bankruptcy estate. Fourth,

it would enhance enforcement of the automatic stay of Section 362(a) to ensure no party exercises

control or possession of estate property.      Finally, it preserves the important public policy that the

bankruptcy trustee is the sole representative of the bankruptcy estate and that no third party has

the authority, right, standing or power to assert control over property of the estate.

        54.     The Debtor’s bankruptcy estate does not have an adequate remedy at law.           While

the bankruptcy estate could obtain a judgment against TCLLC any such judgment would likely

remain unsatisfied and uncollectible.

        55.     Based on the foregoing, and balancing the hardships involved, the estate is entitled

to the issuance of a temporary restraining order enjoining TCLLC and the TCLLC Agents from

(1) from using, operating, utilizing, selling, transporting, transferring, altering or destroying certain

the Equipment, (2) requiring TCLLC and TCLLC Agents to store and secure such property, and

(3) allowing Plaintiff and his representatives access to the Equipment for inspection and to ensure

compliance with the injunctive measures imposed by the Court, pending the Court’s consideration

of Plaintiff’s request for entry of a preliminary injunction.

        56.     Such an order is necessary and appropriate.

        B.      Preliminary Injunction

        57.     Plaintiff seeks, pursuant to Fed.R.Civ.P. 65, made applicable hereto by

Fed.R.Bankr.P. 7065, issuance of a preliminary injunction enjoining TCLLC and the TCLLC

Agents (i) from using, operating, utilizing, selling, transporting, transferring, altering or destroying

the Equipment, (ii) requiring TCLLC and the TCLLC Agents to store and secure such property,



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and (iii) allowing Plaintiff and his representatives access to the Equipment for inspection and to

ensure compliance with the injunctive measures imposed by the Court, until consideration of the

merits of the claims raised in this proceeding.

        58.     A preliminary injunction is necessary to preserve the status quo pending the

issuance of permanent injunction or trial of the merits of the Complaint.

        59.     There is a great likelihood and potential that the Debtor’s bankruptcy estate will

suffer irreparable harm and injury if the Court does not grant an injunction enjoining TCLLC and

the TCLLC Agents from using, operating, utilizing, selling, transporting, transferring, altering or

destroying the Equipment, (2) requiring TCLLC and the TCLLC Agents to store and secure such

property, and (3) allowing Plaintiff and his representatives access to the Equipment for inspection

and to ensure compliance with the injunctive measures imposed by the Court,

        60.     The issuance of a preliminary injunction is necessary to prevent immediate and

irreparable injury to the Debtor’s bankruptcy estate.          This harm to the estate is imminent as

TCLLC and the TLLC Agents presently possess, control and maintain custody of the Equipment

and TCLLC continues to use and operate the Equipment in its business operations. TCLLC’s use

of the Equipment creates a substantial, immediate and irreparable threat of a loss to the Debtor’s

bankruptcy estate. TCLLC’s continued use of Equipment diminishes the value of the Equipment,

creates a risk of liability for the Debtor’s estate and threatens the ability of Plaintiff to maximize

the Equipment’s value for the benefit of the Debtor’s creditors.

        61.     In the event of an accident involving the Equipment the Debtor’s bankruptcy estate

will suffer a property loss, i.e., the value of and future use of the Equipment, and potential liability

for any injury or harm to third parties and their property.

        62.     Any damage or destruction of the Equipment would diminish or eliminate any value



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Plaintiff could recognize in its sale. Further, there is a substantial and real threat that demand for

the Equipment is waning. As well documented, the home construction sector is experiencing a

slow-down and nearing a recession due to the rise of mortgage rates, a decrease in buying activity

and home starts. This slowdown has further caused a pull-back in residential restoration and

renovation projects.

        63.     Further, in having unfettered use, possession and control of the Equipment, TCLLC

has the ability to operated, sell, alter, transfer or otherwise dispose of the Equipment to the

detriment of the Debtor’s bankruptcy estate. Any sale, transfer, alteration or disposition could be

made for the purpose of converting property of the bankruptcy estate or circumventing any

judgment eventually obtained by Plaintiff, thereby diminishing the value of such property for the

benefit of the estate’s creditors.

        64.     The bankruptcy estate would suffer irreparable injury and harm in the event of sale,

transfer, alteration or disposition of the Equipment.

        65.     The threatened harm to the Debtor’s bankruptcy estate outweighs and is greater

than the harm a preliminary injunction would inflict on TCLLC. The injury and harm faced by

the bankruptcy estate in the event injunctive relief is not granted is (i) the diminished value of the

Equipment, (ii) reduced market for sale of the Equipment, and (iii) potential liability for injury or

damages caused to third parties.

        66.     On the other hand, TCLLC and the TCLLC’s Agents have little risk of injury or

damage if enjoined from using, operating, utilizing, selling, transporting, transferring, altering or

destroying the Equipment.       Since the August Lease expired and the Leases have been terminated,

TCLLC has no legal right to possess or use the Equipment. Consequently, TCLLC cannot rely on

the use of the Equipment in its business operation, nor does it have a reasonable expectation of



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any such rights.

        67.        There is a substantial likelihood that the Debtor’s bankruptcy estate will succeed

on the merits of this action. TCLLC’s sole basis for possession, custody and control of the

Equipment arises under the Leases.         The August Lease expired under its terms and due to the

Lease Defaults TCLLC’s the Leases have terminated.             Upon termination of the Leases TCLLC

is obligated to return and surrender the Equipment. As the Equipment constitutes property of the

bankruptcy estate, TCLLC is obligated to turnover possession, custody and control of that property

to Plaintiff pursuant to 11 U.S. C. § 542(a).       These circumstances, in addition to the other facts

alleged herein, clearly evidence Plaintiff’s likelihood of success on the merits of the complaint.

        68.      The issuance of a preliminary injunction would not adversely affect public policy

or the public interest, but rather granting this relief would serve to enhance the public interest and

public policy.      First, it will protect the Debtor’s bankruptcy estate from a substantial and

irreparable injury to the Equipment or third parties who might seek recovery against the estate in

the event of an accident. Second, it will protect and preserve the bankruptcy estate’s rights and

interest in the Equipment in accordance with Section 363 of the Bankruptcy Code.              Third, it

would preserve the integrity of the Bankruptcy Code and bankruptcy process by preserving the

value of estate property and further the expeditious administration of the bankruptcy estate. Fourth,

it would enhance enforcement of the automatic stay of Section 362(a) to ensure no party exercises

control or possession of estate property. Finally, it preserves the important public policy that the

bankruptcy trustee is the sole representative of the bankruptcy estate and that no third party has

the authority, right, standing or power to assert control over property of the estate.

        69.      The Debtor’s bankruptcy estate does not have an adequate remedy at law.        While

the bankruptcy estate could obtain a judgment against TCLLC any such judgment would likely



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remain unsatisfied and uncollectible.

        70.      Based on the foregoing, and balancing the hardships involved, the estate is entitled

to the issuance of a preliminary injunction enjoining TCLLC and the TCLLC Agents from (1)

from using, operating, utilizing, selling, transporting, transferring, altering or destroying certain

the Equipment, (2) requiring TCLLC and the TCLLC Agents to store and secure such property,

and (3) allowing Plaintiff and his representatives access to the Equipment for inspection and to

ensure compliance with the injunctive measures imposed by the Court, until consideration of the

merits of the claims raised in this proceeding.

        71.      In light of the foregoing, the issuance of a preliminary injunction to preserve the

status quo pending a permanent injunction or trial on the merits is necessary.

                               V. SUPPORTING DECLARATIONS

        72.      In support of this Motion, attached hereto and incorporated herein is the Declaration

of Mark Weisbart, attached hereto as Exhibit “A.”

                                             VI. PRAYER

        WHEREFORE, Mark A. Weisbart, the SubV chapter 11 trustee for the bankruptcy estate

of Service One, LLC prays that this Court grant the following relief:

        1. Issuance of a temporary restraining order enjoining TCLLC and the TCLLC Agents (i)

              from using, operating, utilizing, selling, transporting, transferring, altering or

              destroying the Equipment, (ii) requiring TCLLC and the TCLLC Agents to store and

              secure such property, and (iii) allowing Plaintiff and his representatives access to the

              Equipment for inspection and to ensure compliance with the injunctive measures

              imposed by the Court, until consideration of Plaintiff’s request for entry of a

              preliminary injunction.



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        2. Entry of a preliminary injunction enjoining TCLLC and the TCLLC Agents (i) from

            using, operating, utilizing, selling, transporting, transferring, altering or destroying the

            Equipment, (ii) requiring TCLLC and the TCLLC Agents to store and secure such

            property, except as otherwise provided by the Court or until trial of the merits enjoining

            such acts, and (iii) allowing Plaintiff and his representatives access to the Equipment

            for inspection and to ensure compliance with the injunctive measures imposed by the

            Court, until consideration of the merits of the claims asserted in this proceeding.

        3. Such other and further relief to which the bankruptcy estate is justly entitled.

                                                        Respectfully Submitted,


                                                        /s/James S. Brouner
                                                        Mark A. Weisbart
                                                        Texas Bar No. 21102650
                                                        James S. Brouner
                                                        Texas Bar No. 03087285
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                                                        COUNSEL FOR SUBCHAPTER V TRUSTEE,
                                                        PLAINTIFF




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                                    CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing instrument was served on the
following listed persons as reflected below via email and first-class United States Mail, postage
prepaid on this the 23rd day of August 2022.


  Trash Chomper, LLC                                     Jeff Carruth
  c/o Charles Tomasello                                  WEYCER, KAPLAN, PULASKI &
  5830 Granite Pkwy., Ste. 100                           ZUBER, P.C.
  Plano Texas 75024                                      3030 Matlock Rd., Suite 201
                                                         Arlington, Texas 76105
  Trash Chomper, LLC                                     jcarruth@wkpz.com
  c/o Sandra Perry
  12 Cowboys Way #1512                                   Patrick J. Schurr
  Frisco, TX 75034.                                      SCHEEF & STONE, L.L.P.
                                                         2600 Network Boulevard
  Peter Nicklas                                          Suite 400
  1550 South Ballard,                                    Frisco, Texas 75034
  Wylie, TX 75097                                        Patrick.schurr@solidcounsel.com


                                                                    /s/ James S. Brouner
                                                                    James S. Brouner




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